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                                                  U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

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                                                      New York, New York 10278



                                                      May 23, 2024

BY ECF
The Honorable Ronnie Abrams
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       Re:     United States v. Paduch, S2 23 Cr. 181 (RA)

Dear Judge Abrams:

       The Government respectfully submits this letter in opposition to the defense motions styled
as motions under Rules 29 and 33 of the Federal Rules of Criminal Procedure. Those motions are
moot or meritless, and should be denied.

       The Rule 29 Motion

        Rule 29 provides that the Court must enter a judgment of acquittal on any count “for which
the evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29. Prior to trial—and before
any jury was empaneled—the Government advised the defense that it did not intend to proceed as
to Counts Six or Eleven of the S2 Superseding Indictment. The Government’s contemplated
dismissal of those Counts was discussed in pretrial filings and on the record at a pretrial
conference. (See, e.g., Doc. No. 76 at 1 n. 2; Doc. No. 102.) During trial, the Government moved
to dismiss Counts Six and Eleven, which the Court memo-endorsed on May 2, 2024. (Doc. Nos.
120, 121, 122.) On May 5, 2024, the defense filed a letter arguing that the dismissal of those
counts should be with prejudice, and in court on May 6, 2024, the defense renewed its request that
the dismissal be with prejudice in light of Double Jeopardy concerns. (Doc. No. 124.) On neither
occasion did the defense refer to Rule 48(a) as a bar to the Court’s dismissal of those counts. 1


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    Rule 48(a) is intended as a safeguard against prosecutorial gamesmanship: specifically, to
prevent prosecutors from strategically abandoning trial counts (if a trial is going poorly) only to
bring them later on. United States v. Doody, 2002 WL 562644, at *2 (S.D.N.Y. Apr. 16, 2002)
(“Courts dismiss cases under Rule 48(a) with prejudice or deny such motions only where the
prosecutor acted in bad faith, or where dismissal followed by recharge would amount to
prosecutorial harassment.” (quotations and citations omitted)). Needless to say, that is not what
happened here.
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       Insofar as the defense continues to be concerned about Double Jeopardy, the Government
consents to an order from the Court clarifying that its May 2, 2024 memo-endorsement constituted
a dismissal of those counts, on the Government’s motion, with prejudice. With that clarification,
the Rule 29 motion is moot.

       The Rule 33 Motion

         Rule 33 provides that “the court may vacate any judgment and grant a new trial if the
interest of justice so requires.” Fed. R. Crim. P. 33(a). While the Rule gives the Court “broad
discretion . . to set aside a jury verdict and order a new trial to avert a perceived miscarriage of
justice, [t]he district court must strike a balance between weighing the evidence and credibility of
witnesses and not wholly usurp[ing] the role of the jury.” United States v. Ferguson, 246 F.3d
129, 133 (2d Cir. 2001) (quotations and citations omitted). The “ultimate test on a Rule 33 motion
is whether letting a guilty verdict stand would be a manifest injustice,” and “[t]here must be a real
concern that an innocent person may have been convicted.” Id. (quotations and citation omitted).

        The defendant is not an innocent man. Nor does the defense articulate any challenge to the
fairness of the trial. Instead, the defendant attacks the constitutionality of the statute under which
he was convicted—18 U.S.C. § 2422—under “the Fifth Amendment’s Due Process Clause, the
Commerce Clause and all possible justifications.” (Doc. No. 135.) As an initial matter, what the
defendant seeks is not a new trial, but dismissal of the Indictment. That relief is not available
under Rule 33. United States v. Hernandez, 2024 WL 2078264, at *6 (S.D.N.Y. May 9, 2024) (“It
does not authorize the Court to dismiss an indictment or vacate a conviction without granting a
new trial, and Hernandez has cited no authority holding that Rule 33, Fed. R. Crim. P. is a viable
vehicle for a post-conviction motion to dismiss the indictment or vacate a judgment.”).

        The defendant’s motion also fails on the merits. The defense does not even try to articulate
a Due Process or Commerce Clause claim, much less cite applicable law. Mere invocation of a
constitutional provision is not a legal argument.

         Even if the defense’s Commerce Clause challenge were developed, it would fail. The
subparts of § 2422 require the Government to prove either the movement of a person in interstate
commerce or the use of an interstate facility. See 18 U.S.C. § 2422(a) (“any individual to travel
in interstate or foreign commerce”), § 2422(b) (“using the mail or any facility or means of
interstate or foreign commerce”). As the Supreme Court has explained, the Commerce Clause
empowers Congress to pass statutes that regulate “the instrumentalities of interstate commerce, or
persons or things in interstate commerce, even though the threat may come only from intrastate
activities.” United States v. Lopez, 514 U.S. 549, 558 (1995). For this reason, federal courts have
repeatedly upheld the constitutionality of § 2422 and similarly worded statutes. See United States
v. Griffith, 284 F.3d 338, 348 (2d Cir. 2002) (holding that 18 U.S.C. § 2251 is constitutional
because “the movement of the visual depiction itself in interstate commerce, represents a
constitutional exercise of Congress’ authority under the Commerce Clause”); United States v.
Hornaday, 392 F.3d 1306, 1310 (11th Cir. 2004) (“Hornaday’s related contention that if § 2422(b)
covers his actions its enactment exceeded Congress’ Commerce Power is meritless.”); United
States v. Tykarsky, 446 F.3d 458, 470 (3d Cir. 2006) (“Accordingly, both § 2423(b) and § 2422(b)
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represent constitutional exercises of Congress’s Commerce Clause power to regulate the use of the
channels and instrumentalities of interstate commerce.”).

        The defense’s Due Process claim appears to rest on the contention that federal statutes
should not punish criminal conduct more severely than state statutes. (Doc. No. 135.) There is no
legal support for that contention. To the contrary, the Second Circuit has held that a sentencing
court need not consider the sentence that a defendant might have faced for similar conduct in a
state proceeding. United States v. Johnson, 505 F.3d 120, 123 (2d Cir. 2007) (“We have also
observed that requiring district courts to reduce a defendant’s sentence whenever he might have
been subjected to different penalties had he been prosecuted in state court would make federal
sentences dependent on the law of the state in which the sentencing court was located, resulting in
federal sentencing that would vary from state to state.” (quotation and citation omitted)). Indeed
the Supreme Court has long recognized that the federal government may have a legitimate interest
in prosecuting crimes that would be punished more lightly by a state. See Abbate v. United States,
359 U.S. 187, 195 (1959) (“For example, the petitioners in this case insist that their Illinois
convictions resulting in three months’ prison sentences should bar this federal prosecution which
could result in a sentence of up to five years. Such a disparity will very often arise when, as in this
case, the defendants’ acts impinge more seriously on a federal interest than on a state interest.”).

      The defendant is an unrepentant sex predator who preyed on countless children, for years.
He was convicted following a trial that complied in all respects with the law and the dictates of
Due Process. The Rule 33 motion is meritless and should be denied.


                                                 Respectfully submitted,

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                                                 Southern District of New York

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